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8                            UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
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11    MADISON FISK, RAQUEL CASTRO,                       Case No.: 22-CV-173 TWR (MSB)
      GRETA VISS, CLARE BOTTERILL,
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      MAYA BROSCH, HELEN BAUER,                          ORDER DENYING AS MOOT
13    CARINA CLARK, NATALIE                              DEFENDANTS’ MOTION TO
      FIGUEROA, ERICA GROTEGEER,                         DISMISS
14
      KAITLIN HERI, OLIVIA PETRINE,
15    AISHA WATT, KAMRYN                                 (ECF No. 22)
      WHITWORTH, SARA ABSTEN,
16
      ELEANOR DAVIES, ALEXA DIETZ,
17    and LARISA SULCS, individually and on
      behalf of all those similarly situated,
18
                                       Plaintiffs,
19
      v.
20
      BOARD OF TRUSTEES OF THE
21
      CALIFORNIA STATE UNIVERSITY
22    and SAN DIEGO STATE UNIVERSITY,
23                                   Defendants.
24
25          Presently before the Court is Defendants Board of Trustees of the California State
26    University and San Diego State University’s Motion to Dismiss. (“the Motion,” ECF No.
27    22.) A hearing on the Motion is currently set for June 16, 2022, at 1:30 p.m. However, on
28    April 21, 2022, Plaintiffs filed an Amended Complaint. (See ECF No. 24.) In light of the

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                                                                             22-CV-173 TWR (MSB)
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1     Amended Complaint, the Court DENIES AS MOOT the Motion and VACATES the June
2     16, 2022, hearing.
3           IT IS SO ORDERED.
4     Dated: April 22, 2022
5                                            _____________________________
                                             Honorable Todd W. Robinson
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                                             United States District Judge
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